                                                            December 21, 2022

Via ECF
The Honorable William F. Kuntz, II
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:      United States v. Frank James, 22-CR-214 (WFK)

Your Honor,

       Mr. James has advised undersigned counsel that he wishes to schedule a guilty plea to
the superseding indictment. If the Court is available, we wish to proceed during the first week of
January 2023.

                                                     Respectfully Submitted,

                                                                   /s/
                                                     Mia Eisner-Grynberg
                                                     Amanda L. David
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cc:    AUSA K. Sara Winik
       AUSA Ian C. Richardson
       AUSA Ellen H. Sise
